Case 18-24703-JAD   Doc 42   Filed 10/22/19 Entered 10/22/19 13:17:22   Desc Main
                             Document     Page 1 of 3
Case 18-24703-JAD   Doc 42   Filed 10/22/19 Entered 10/22/19 13:17:22   Desc Main
                             Document     Page 2 of 3
 Case 18-24703-JAD          Doc 42      Filed 10/22/19 Entered 10/22/19 13:17:22                  Desc Main
                                        Document     Page 3 of 3

   but not limited to "CERCLA" or any similar statutes arising out of conditions in, on, or about the property
   so purchased.

           IT IS FURTHER ORDERED that t h e liens, claims and interests of all Respondents,
   including but not limited to Butler County, Donegal Township, Karns City Area School District and
   Freedom Mortgage Corporation, be, and they hereby are divested from the property being sold and from the
   proceeds from the sale.

            FURTHER ORDERED that after due notice to the claimants, lien creditors, and interest holders,
   and no objection on their parts having been made or, if made, resolved/overruled, the incidental and
   related costs of sale and of the within bankruptcy proceeding, shall be paid in advance of any distribution to
   said lien creditors.

            FURTHER ORDERED that applicable real estate taxes and ordinary closing costs,
   municipal lien claims, including the realtor commission approved by the Court in the amount of $7,980,
   shall immediately be paid at closing. Failure of the closing agent to timely make disbursement required
   by this Order will subject the closing agent to monetary sanctions after notice and hearing.

           FURTHER ORDERED that the Movant shall serve a copy of the within Order on each
   Respondent (i.e., each party against whom relief is sought) and its attorney of record, if any, upon any
   attorney or party who answered the motion or appeared at the hearing, the attorney for the debtor, the
   purchaser, and the attorney for the purchaser, if any, and file a certificate of service.

           FURTHER ORDERED that closing shall occur on or before ten ( 10) days from the date the
  Order of Sale becomes final, TIME BEING OF THE ESSENCE and the Movant shall file a report of sale
  within seven (7) days following closing. In the event of the failure of the purchaser to remit payment in
  full within the required time frame, (or such extensions, not to exceed 30 days as the Trustee, in her sole
  and exclusive discretion, may accord to the purchaser) the Trustee may, at her option, declare a default,
  retain the deposit for the benefit of the Estate, and resell the property, in which case the purchaser shall be
  liable for any deficiency, unless such inability to close is the result of the inability of the Trustee/Estate to
  have complied with the terms of this Order. The Trustee is hereby authorized (but not required) to sell the
  property to the next highest bidder, and so on, in order to liquidate the property for the benefit of the
  Estate.

           FURTHER ORDERED that this Confirmation Order survives any dismissal or conversion of the
   within case.


          FURTHER ORDERED that the stay imposed by Bankruptcy Rule 6004(h) is waived.




                                                                 HONORABLE JEFFERY A. DELLER
                                                                 United States Bankruptcy Court


CASE ADMINISTRATOR SHALL SERVE:                                               FILED
     Natalie Lutz Cardiello, Esquire                                          10/22/19 1:08 pm
                                                                              CLERK
                                                                              U.S. BANKRUPTCY
                                                                              COURT - WDPA
